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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

] MDL Docket No. 1657
In Re: VIOXX
SECTION L
PRODUCTS LIABILITY LITIGATION ]

JUDGE FALLON
This document relates to
Anthony Mercurio, Docket #06-1512 ]
MAGISTRATE JUDGE KNOWLES

MOTION TO WITHDRAW DOCUMENT

Pursuant to Local Rule 83.2.11, the law firm Weiner, Carroll & Strauss, counsel of record
for Anthony Mercurio, moves the Court for an Order withdrawing Document #15660. In
support of this motion, the undersigned states as follows:

1. We have been contacted by our client as a result of the ad placed in the newspaper in
accordance with Pretrial Order 36 and he has requested that our office continue to represent him

in this pending litigation.

Respectfully submitted this 26" day of August

RICHARD J. WEINER, ESQ.
Wei arroll & Strauss
136 Summit Avenue
Montvale, New Jersey 07645
Attorneys for Plaintiff, Anthony Mercurio
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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Motion to Withdraw Document #15660 has
been served on Liason Counsel, Phillip A. Whittman and Russ Herman, by U.S. Mail and upon
all parties by electronically uploading the same to LexisNexis File and Serve Advanced, in
accordance with Pretrial Order No. 8A, and that the foregoing was electronically filed with the
Clerk of the Court of the United States District Court for the Eastern District of Louisisana by
using the CM/ECF system which will sent a Notice of Electronic Filing in accord with the

procedures established in MDL 1657 on this the 26" day of August, 2008.

WEINER, CARROLL & STRAUSS
136 Summit Avenue

Montvalg, New Jersey 07645

DATED: August 26, 2008

